Case 2:05-cV-02281-.]P|\/|-de Document 16 Filed 08/10/05 Page 1 of 3 Page|D 8

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UNITED STATES DISTRICT CO ll AH 8:08
WESTERN DISTRICT OF TENNESS
WESTERN DIVISION THO*i:\S C)OULD

HI<US "‘TCT:’V`T COURT
CLE“/T\O:[ 'll`l“z"."-F‘.‘

 

WALTER MCGHEE, JUDGMENT IN A CIVIL CASE
Plaintiff,

v.

THOMAS E. HANSOM, et al., CASE NO: 05-2281 Ml/V

Defendants.

 

JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the

Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that, in accordance
with the Order Granting Motions for Summary Judgment, Order of
Diemieeal, and Order Certifying Appeal Not Taken in Good Faith,
entered August )O, 2005, this case is DISMISSED.

APPROVED:

Q-O W@

JON P. MCCALLA
UN TED STATES DISTRICT COURT

Date C// Clerk of Court

W/ULW

Deputy Cletk

This document entered on the docket '~heet in comp§iance

with Hu|e 58 end/or 79(3) FHCP en " -

   

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Honorable .1 on McCalla
US DISTRICT COURT

